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                                   3                                  UNITED STATES DISTRICT COURT

                                   4                             NORTHERN DISTRICT OF CALIFORNIA

                                   5                                       SAN JOSE DIVISION

                                   6

                                   7     JESSICA DOMINGUEZ, et al.,                      Case No. 18-cv-04826-BLF
                                   8                    Plaintiffs,
                                                                                         ORDER STRIKING PLAINTIFFS’
                                   9             v.                                      OPPOSITIONS TO DEFENDANTS’
                                                                                         FIRST AND SECOND MOTIONS IN
                                  10     CITY OF SAN JOSE, et al.,                       LIMINE FOR NONCOMPLIANCE
                                                                                         WITH STANDING ORDERS
                                  11                    Defendants.                      WITHOUT PREJUDICE TO FILING
                                                                                         REVISED VERSIONS; ADMONISHING
                                  12                                                     PLAINTIFFS’ REGARDING
Northern District of California
 United States District Court




                                                                                         OPPOSITIONS TO DEFENDANTS’
                                  13                                                     THIRD AND FOURTH MOTIONS IN
                                                                                         LIMINE
                                  14
                                                                                         [Re: ECF Nos. 95, 96, 97, 98]
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                                  16          On July 21, 2022, Plaintiffs filed oppositions to Defendants’ motions in limine. See

                                  17   ECF Nos. 95–99. Four of those oppositions—the oppositions to Defendants’ first, second, third,

                                  18   and fourth motions in limine (ECF Nos. 95–98)—fail to comply with the Court’s Standing Order

                                  19   Re Civil Jury Trials. See Civil Jury Trial Standing Order § III.C (“Briefing on each motion shall

                                  20   not exceed 5 pages per side.”).

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                                   1          As to the oppositions to Defendants’ third and fourth motions in limine (ECF Nos. 97, 98),

                                   2   the Court hereby ADMONISHES Plaintiffs for failing to comply with the Court’s Standing Orders.

                                   3   The Court will not require Plaintiffs to file revised versions of these two oppositions since the

                                   4   number of pages is approximately within the page limits of the Court’s Standing Orders. However,

                                   5   Plaintiffs’ oppositions to Defendants’ first and second motions in limine (ECF Nos. 95, 96) are

                                   6   significantly outside the page limits required by the Court’s Standing Orders. Accordingly, the

                                   7   Court STRIKES Plaintiffs’ oppositions to Defendants’ first and second motions in limine

                                   8   WITHOUT PREJUDICE to filing revised versions of no more than 5 pages each by July 22, 2022

                                   9   at 12:00 P.M.

                                  10          IT IS SO ORDERED.

                                  11   Dated: July 21, 2022

                                  12                                                 ______________________________________
Northern District of California
 United States District Court




                                                                                     BETH LABSON FREEMAN
                                  13                                                 United States District Judge
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